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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                 Case No. 20 CR 812
           v.
                                             Judge Harry D. Leinenweber
MICHAEL McCLAIN, ANNE
PRAMAGGIORE, JOHN HOOKER,
AND JAY DOHERTY,

                     Defendants.


                      MEMORANDUM OPINION AND ORDER

     Defendant Jay Doherty’s Motion to Dismiss (Dkt. No. 44.) and

Defendants Michael McClain, Anne Pramaggiore, John Hooker and Jay

Doherty’s Motion to Dismiss (Dkt. No. 45) are denied. Defendants’

Motion for Bill of Particulars (Dkt. No. 56) is granted in part

and denied in part. Defendants’ Motion to Strike Surplusage from

the Indictment (Dkt. No. 62) is denied but may be renewed prior to

trial.

                               I.   BACKGROUND

     Defendants Michael McClain, Anne Pramaggiore, John Hooker,

and Jay Doherty have been indicted on a charge of public corruption

conspiracy   involving    Commonwealth      Edison    Company    (“ComEd”),      a

subsidiary of the publicly traded Exelon Corporation, and Exelon

Business Services, LLC, and public officials in the State of

Illinois legislature (Count One). (Indict. ¶¶ 1—28, Dkt. No. 1.)
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Defendant Michael McClain is a former House of Representatives

official who subsequently served as a lobbyist for ComEd from

approximately     1982     until    2019.   (Id.     at    ¶1.)   Defendant    Anne

Pramaggiore served ComEd as Chief Executive Officer from 2012 until

2018 and then worked as a senior executive affiliate from 2018

until   October    2019.    (Id.)     Defendant     John   Hooker   is   a    former

executive of ComEd, who was hired as an external lobbyist for ComEd

from 2012 until 2019. (Id.) Defendant Jay Doherty was the owner of

Jay D. Doherty & Associates, which engaged in consulting services

for ComEd from 2011 to 2019. (Id.) Count One alleges that the

Defendants provided a series of benefits to a state public official

over    eight     years,     including      jobs,     vendor      contracts      and

subcontracts,     and      monetary    payments      to    associates    of    that

official. (Id.)

       In addition to the conspiracy charge, all Defendants have

been charged with falsification of books and records in violation

of 15 U.S.C. §§ 78m(b)(5) & 78ff(a) and 18 U.S.C 2 (Counts Three,

Four, Seven, Nine), and public corruption in violation of 18 U.S.C.

§§ 666(a)(2) & 2 (Count Eight). Defendants McClain and Pramaggiore

have also been charged with three additional public corruption

counts in violation of 18 U.S.C. §§ 666(a)(2) & 2 (Counts Two,

Five, Six).




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     On    May   20,   2021,   Doherty    moved    to    dismiss   the   public

corruption counts against him (Count One in part and Count Eight).

(Dkt. No. 44.) On June 1, 2021, all four Defendants moved to

dismiss the public corruption counts (Count One in part and Counts

Two, Five, Six, and Eight in their entirety). (Dkt. No. 45.) On

September 10, 2021, Defendants moved for a bill of particulars.

(Dkt. No. 56.) On September 22, 2021, Defendants moved to strike

surplusage from the Indictment. (Dkt. No. 62.) The briefing on

these issues having been concluded, the Court now considers the

Motions.

                               II.    ANALYSIS

     Defendants’ first two Motions are to dismiss the public

corruption counts. Defendants present multiple legal challenges

the public corruption charges, which the Court reviews below.

                         A.    Exception § 666(c)

     Defendant    Doherty,     individually      and    later   joined   by   all

Defendants, argues the Indictment is insufficient as the language

set forth by the Government does not incorporate the exception to

the criminal statue with specific enough references such that the

jury could have determined whether the exception applied. Under

Federal Rule of Criminal Procedure 7(c)(1), an indictment is

sufficient if “it states the elements of the crime charged, informs

the defendant of the nature of the charge so she may prepare a


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defense, and enables the defendant to plead the judgment as a bar

against future prosecutions for the same offense.” United States

v. Agostino, 132 F.3d 1183, 1189 (7th Cir. 1997). An indictment is

generally sufficient when it uses the words of the statute to

describe the offense and includes all the elements of the offense

intending to be proscribed. Id.

       Defendants acknowledge that Indictment tracks the language of

the offense as required by the Federal rules. Specifically, the

Indictment states that Defendants offered or agreed to give items

of value, “jobs, contracts, and monetary payments,” with the intent

to    influence     an    agent   of   the    State    of   Illinois   to   provide

regulation       and   statutes    beneficial     to   ComEd.   Doherty     argues,

however, that § 666(c) is also an essential element of the crime.

The Indictment does not track the language of the exception set

forth in § 666(c), and thus, according to Doherty, the Grand Jury

was unable to consider whether the exception applied. Section

666(c) reads, “[t]his section does not apply to bona fide salary,

wages, fees, or other compensation paid, or expenses paid or

reimbursed, in the usual course of business.” 18 U.S.C. § 666(c).

       It is not the Government’s duty to show that an indicted

person     did   not     fall   within   an   exception.      Challenges    to   the

indictment on these grounds misplace the burden of proof. McKelvey

v. United States, 260 U.S. 353, 357 (1922) (“[A]n indictment . . .


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need not negative the matter of an exception made by a proviso or

other distinct clause, whether in the same section or elsewhere,

and that it is incumbent on one who relies on such an exception to

set it up and establish it.”) The exception should be used by

Defendants as an affirmative defense at trial. Id.

      In support of the contrary position, Doherty cites United

States v. Rooney, 37 F.3d 847 (2d Cir. 1994). In Rooney, the Second

Circuit reversed in part and vacated in part the conviction of a

real estate developer, a private individual, involved in a private

development project where he hired a private contractor who was

connected to public funds through the federal agency who happened

to be the lender for the project (the “FmHA”). Id. at 850. As the

lead developer, Rooney was in charge of the FmHA funds, and used

his access to funds to negotiate with a contractor on the scope

and timing of a project. The Government prosecuted Rooney for

public corruption. Id. at 853. The Second Circuit found that

Rooney, as a private actor contracting with another private actor,

had   not   “breached   any    duty   he    owed   the   government     when     he

conditioned further loan requests and thus prompter payment upon

the construction of a pond.” Id. Notably absent from this case is

any   discussion    that      Rooney’s     allegations    should      have    been

dismissed    at   the   indictment       stage   for   failing   to    have    the

Government prove he was not part of the exception set forth in


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§ 666(c). Indeed, the Second Circuit did not rely on § 666(c) as

the main reasoning for their holding.

       The Court, using common sense, finds there is sufficient

information in the indictment to show that Doherty, Pramaggiore,

Hooker, and McClain’s actions fall within § 666. Unlike Rooney,

where private parties engaged in negotiations on scope and timing

of    payment,     here    the   Government     has   alleged    that    the    four

Defendants offered, or intended to offer, financial incentives as

a bribe to a public official to influence state laws governing the

public     corporation      that   employed     them.   The     fact    that    these

incentives       were     laundered    partially      through    jobs    does    not

invalidate the indictment. A company cannot use its payroll line

on its accounting ledger to circumvent all Government oversight of

public corruption. United States v. Whiteagle, 759 F.3d 734, 755

(7th Cir. 2014) (affirming a conviction of a corrupt solicitation

of a job for a legislator’s cousin under 18 U.S.C. § 666(b).).

While Defendants are entitled to use § 666(c) as an affirmative

defense at trial, they are not entitled to dismissal at this stage

based solely on their version of the facts.

                  B.    Connection between the Gratuity and
                        the Action by Public Official A

       Defendants next argue there is an insufficient nexus between

the rewards provided to Public Official A and the actions taken by

the General Assembly of Illinois. In U.S. v. Sun-Diamond Growers

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of California, 526 U.S. 398, 404 (1999), the Supreme Court reviewed

the extent to which a gratuity required a connection between the

act and the thing of value conferred. The Supreme Court held that

an illegal gratuity went beyond “a gratuity [made] because of his

official position — perhaps, for example, to build a reservoir of

goodwill that might ultimately affect one or more of a multitude

of unspecified acts, now and in the future.” Id. at 405. Instead,

there must be a particular act referenced by the Government that

was intended to be rewarded. Id. The Supreme Court enumerated

several reasons for this holding. First, § 201(c) carefully defines

and uses “official act” in its prohibition of illegal gratuities.

As a result, “some particular official act [must] be identified

and   proved.”    Id.   at   406.    The    Court      also   noted   that    the

identification of the “official act” was necessary to prevent the

presentation     of   symbolic   gifts,    such   as    “token   gifts   to   the

President based on his official position” and no other reason,

from being criminal. Id. Finally, the Supreme Court noted that the

prohibitions set forth in § 201(c) were “merely one strand of an

intricate web of regulations, both administrative and criminal”

regulating the conduct of federal employees. Id. at 409.

      Defendants take Sun-Diamond’s requirement on specificity and

uses it to argue there must be a completeness of understanding

between Public Official A and Defendants. However, the plain text


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of the statute demonstrates there does not have to be proof that

the agent of local government received the illegal gratuity with

requisite intent, only that the person attempting to provide the

illegal gratuity “corruptly gives, offers, or agrees to give” a

thing of value. 18 U.S.C. § 666(a)(2); see also United States v.

Whiteagle, 759 F.3d 734, 753 (7th Cir. 2014) (“It was not necessary

for   the     government       to    prove    as    to     these     counts    that   [the

legislator] actually received the bribes [under § 666(a)(2)].”)

Defendants      mistake     these       components         of   the      law   as   having

interchangeable standards. They do not.

      Unlike    §   201,    neither         the    words    nor    the    definition    of

“official act” are present in the language of the statute upon

which Defendants have been indicted. Instead, § 666(a)(2) appears

to rely on the word “corruptly” to differentiate between legal and

illegal     transfers      of       value    between       private      individuals    and

officials. This change in language prevents the concerns presented

by the Supreme Court in Sun-Diamond regarding publicly presented

tokens or symbolic gifts. The final component of Sun-Diamond’s

holding, the presence of other laws and regulations governing

federal officials, is not present here. On the contrary, § 666 was

specifically enacted because of Congressional concerns that local

and   state    agents     of    government         could    not    be    prosecuted    for

corruption. See S. Rep. No. 98-225 at 370 (1983), infra.


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       Keeping the text and posture of § 666 in mind, the Court finds

the Government has met its burden in the indictment by presenting

particular acts that Defendants intended to reward Public Official

A. Specifically, the Government pointed to the General Assembly’s

passage    of   the   Energy   Infrastructure        and   Modernization     Act

(“EIMA”) in 2011, Senate Bill 9 in 2013 (overturning an adverse

interpretation of EIMA), and the Future Energy Jobs Act in 2016,

as well as ComEd’s “continuing interest in advancing legislation

in the General Assembly favorable to its interests, and opposing

legislation that was not consistent with its operational and

financial success.” (Indict. ¶ 1, Dkt. No. 2.)

       Defendants argue that these were only attempts to curry favor

with   public   officials    and   cast   doubt   on    Public   Official    A’s

abilities to exert enough control over the General Assembly to

create the necessary connection between the gratuities and the

General   Assembly’s    actions.    The    Seventh     Circuit   has   reviewed

applications of § 666 in the legislative context and found there

to be a sufficient connection for an illegal gratuity, even in the

absence of specific legislation. In United States v. Gee, 432 F.3d

713 (7th Cir. 2005), the Seventh Circuit affirmed a conviction

where Gee, the defendant, used a non-profit organization to provide

monies to Gary George, who at that time was the majority leader of

Wisconsin’s state senate. 432 F.3d at 714. On appeal, Gee argued


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that because George was in the legislative and not the executive

branch of Wisconsin’s government, George “had no power or authority

to influence; he did nothing to ‘merit’ a reward.” Id. at 715.

     The Seventh Circuit held that the legislative power “confers

influence over executive decisions even when the legislature does

not pass any particular law.” Id. Here, the Government has pointed

to three laws which were passed during the time of the alleged

illegal gratuities, each of which were beneficial to ComEd. The

Court finds this connection sufficient for the purposes of the

indictment.

                 C.   Quid Pro Quo is not an Essential
                         Element of § 666(a)(2)

     In the second Motion to Dismiss, Defendants argue a quid pro

quo, i.e., a concrete official act that directly correlates to the

exchange of something of value, is an essential element of bribery

offenses. Defendants argue that this encompasses the crime set

forth in 18 U.S.C. § 666(a)(2) under which Defendants have been

indicted. In support, Defendants cite to analogous Supreme Court

case law prohibiting bribes to federal officials, 18 U.S.C. § 201.

     Section 201 contains two subsections, each prohibiting a

different crime and requiring a different level of intent to be

proved by the Government. Sun-Diamond, 526 U.S. at 404. The federal

bribery provision, 18 U.S.C. § 201(b)(1), states:



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     Whoever directly or indirectly, corruptly gives, offers,
     or promises anything of value to any public official or
     person who has been selected to be a public official, or
     offers or promises any public official or any person who
     has been selected to be a public official to give
     anything of value to any other person or entity, with
     intent (a) to influence any official act . . .

(emphasis added.) The federal illegal gratuity provision, 18

U.S.C. §201(c)(1), states:

     Whoever otherwise than as provided by law for the proper
     discharge of official duty (a) directly or indirectly,
     gives, offers, or promises anything of value to any
     public official, former public official, or person
     selected to be a public official, for or because of any
     official act performed or to be performed by such public
     official, or person selected to be a public official.

(emphasis added.) As explained in Sun-Diamond, bribery requires

the exchange of the “something of value” to be done with the intent

either “to influence” or “[to be] influenced in the performance of

any official act.” Id. An illegal gratuity, on the other hand, in

§ 201(c), “may constitute merely a reward for some future act that

the public official will take (and may already have determined to

take), or for a past act that he has already taken.” Id. at 405.

The Supreme Court held that “only a bribe [§ 201(b)] requires proof

of a quid pro quo.” Id.

     Defendants argue that the legislative purpose of enacting

§ 666 was to expand the narrow coverage of § 201(b) to apply to

other public officials not employed by the federal government

without otherwise changing the requirements of the statute. As a


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result,     Defendants      argue     that     “hiring      someone     at     the

recommendation and request of a public official” such as a state

legislator should be legal and “utterly routine” absent a quid pro

quo. (Mem. at 8, Dkt. No. 46.) Defendant argues, essentially, that

there is no equivalent prohibition against illegal gratuities for

local and state officials, § 201(c), only bribery, § 201(b).

     The pertinent text of 18 U.S.C. § 666(a)(2) reads as follows:

     Whoever . . . corruptly gives, offers, or agrees to give
     anything of value to any person, with intent to influence
     or reward an agent of an organization or of a State . .
     . government . . . involving any of value of $5,000 or
     more, shall be fined under this title, imprisoned not
     more than 10 years, or both.

The text of § 666 encompasses both the word “influence” from the

definition of bribery and “reward” from the definition of an

illegal    gratuity,   mirroring     the     crimes   of   both   §   201(b)   and

§ 201(c)    described     in    Sun-Diamond.      This     interpretation         is

supported by the context in which § 666 was passed by Congress. In

the Senate Report regarding the passage of the Comprehensive Crime

Control Act of 1983, 18 U.S.C. § 666 is explained as follows:

     18 U.S.C. § 201 generally punishes corrupt payments to
     federal public officials, but there is some doubt as to
     whether or under what circumstances persons not employed
     by the Federal Government may be considered as a ‘public
     official’ under the definition in 18 U.S.C. § 201(a) as
     anyone 'acting for or on behalf of the United States, or
     any Department, Agency or branch of Government thereof,
     including the District of Columbia, in any official
     function.' The Courts of Appeals have divided on the
     question whether a person employed by a private
     organization receiving federal monies pursuant to a

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     program is a 'public official' for purposes of Section
     201. The issue is due to be decided soon by the Supreme
     Court, at least in the context of the particular HUD
     program involved in that case.

S. Rep. No. 98-225 at 370 (1983). By citing to “18 U.S.C. § 201

generally” as a punishment for “corrupt payments to federal public

officials” and not § 201(b) or bribes specifically, the Senate

Report    supports    a    reading     of   the   statute    to   encompass   all

subsections of § 201. Id.

     The    Seventh       Circuit     has   reviewed   the    requirements        of

§ 666(a)(2) and reached the same conclusion. United States v.

Agostino, 132 F.3d 1183, 1190 (7th Cir. 1997) (“We decline to

import an additional, specific quid pro quo requirement into the

elements of § 666(a)(2).”); United States v. Boender, 649 F.3d 650

(7th Cir. 2011) (“Absent any reasons to reconsider our precedent

— and indeed in light of the clear statutory text — we conclude

that the government was not required to establish a specific quid

pro quo of money in exchange for a legislative act.”). In Boender,

the Seventh Circuit specifically reviewed the textual differences

between § 201(b) and § 666(a)(2) in the context of the Supreme

Court’s holding in Sun-Diamond. 649 F.3d at 654–55. The Seventh

Circuit    reaffirmed      that   §   666(a)(2)    encompasses     both   illegal

gratuities and bribery, such that a quid pro quo is sufficient,

but not necessary. Id. at 655 (citing Gee, 432 F.3d at 714). The



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Seventh Circuit reasoned that, “by its plain text, [§ 666(a)(2)]

already covers both bribes and rewards.” Id.

     The   First     Circuit    more    recently     reached     the   opposite

conclusion in United States v. Fernandez, 722 F.3d 1 (1st Cir.

2013). The First Circuit noted that § 666 was altered in response

to doubt as to whether public officials were covered under § 201

and then compared the textual differences between the two statutes.

The First Circuit highlighted “[t]wo changes to § 666 effected by

the CLPTA” that were “noteworthy.” Id. at 21. First, the statute

was altered to include “with intent to influence or reward,” and

second, the addition of the word “corruptly.” Id. at 21–22. The

First Circuit used these insertions to conclude that the insertion

of the word “reward” was not meant to mirror the language in

§ 201(c) or otherwise referencing an illegal gratuity, and instead

was intended to reference the timing of the bribe. The First

Circuit gave more weight to the argument that the insertion of the

word “corruptly” caused the text of § 666(a)(2) to mirror the

language of bribery in § 201(b) and found that its insertion

required a limitation of the statute to the crime of bribery. Id.

     The Court respectfully disagrees with the First Circuit’s

conclusion. As explained in the partial concurrence to Fernandez,

this interpretation would “violate the requirement that we are to

give effect to every word of a statute.” Id. at 40 (citing Ransom


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v. FIA Card Servs., N.A., 562 U.S. 61, 70 (2011)) (Howard, C.J.,

concurring    in   part).       The   Court     finds   that     the   insertion    of

“corruptly”    limit      the   type    of    transactions      prohibited,    i.e.,

corrupt ones, not to further limit the type of corrupt transactions

to only bribes.

     As   referenced      in    the    Senate    Report,       Comprehensive   Crime

Control Act of 1983 was passed while Dixson v. United States, 465

U.S. 482 (1984), was pending before the Supreme Court. At the time,

there was uncertainty about whether local and state officials could

be “public official” who performs “official acts.” 18 U.S.C.

§§ 201(a)(1),      (3).    As    a    result,    unlike    §    201,   there   is   no

definition or reference to a “public official” or an “official

act” in the Comprehensive Crime Control Act. Without the insertion

of “corruptly,” the Act would have criminalized an expansive set

of acts, including symbolic gifts as ‘rewards.’ The Court finds

that the word “corruptly” cabins the scope of the law to illegal

conduct but does not further limit the scope to bribery or to

crimes involving quid pro quo.

     Relying on Seventh Circuit precedent, the Court finds that

neither the plain text of the statute nor the explanation in the

Senate Report support Defendants’ position, and the Court finds

that a quid pro quo is not an essential element of the crimes set

forth in § 666(a)(2).


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                   D.    Vagueness and the Rule of Lenity

       Defendants next argue that § 666 is unconstitutionally vague.

A statute can be unconstitutionally vague in two respects. A

statute may be void for vagueness if it fails to provide a “fair

warning” as to the prohibited conduct. Karlin v. Foust, 188 F.3d

446, 458 (7th Cir. 1999). Additionally, a statute that does not

“contain an explicit and ascendable standard” would allow the

executive    branch      to   engage    in   “arbitrary    and   discriminatory”

enforcement and thus would be unconstitutionally vague. Id. at

459. Defendants argue that § 666(a)(2) fails both standards.

       In support, Defendants cite to United States v. Thompson, 484

F.3d 877 (7th Cir. 2007). There, Defendant Georgia Thompson, a

section chief for Wisconsin’s Bureau of Procurement, selected the

lowest bidder even though other members of the selection group

rated its rivals more highly. Id. at 878. A jury convicted her of

violating 18 U.S.C. § 666 and § 1341 on the prosecution’s theory

that    it   was        politically     motivated     departure       from   state

administrative rules. Id. The Seventh Circuit considered the word

“misapplies”    within        §   666(a)(1)(A),    which   punishes    “[w]hoever

. . . intentionally misapplies property” and found that the word

could encompass a broader or a narrower meaning. Id. at 881.

Finding the broad reading would “turn [] all (or a goodly fraction

of)    state-law    errors        or   political    considerations      in   state


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procurement    into   federal     crimes,”    the   Seventh     Circuit    chose

instead to limit § 666(a)(1)(A) to “theft, extortion, bribery, and

similarly corrupt acts.” Id. The Seventh Circuit stated that “[a]n

error — even a deliberate one, in which the employee winks at the

rules in order to help out someone he believes deserving but barely

over the eligibility threshold — is a civil rather than a criminal

transgression.” Id.

     The Court finds this case inapplicable to Defendants’ current

indictment. First, the case does not stand for the proposition

that the Court should invalidate the entirety of § 666 because of

overbroad language. At most, the Court reads this precedent as

guidance that it should consider whether or not to interpret a

narrow reading of § 666(a)(2) as a counterpart to § 666(a)(1).

However,   unlike     Thompson,    the   Government     is   not    alleging      a

misapplication or mistake of administrative rules that run afoul

of the broadest interpretation of § 666. Defendants are alleged to

have systematically provided things of value through almost a

decade in an attempt to illegally reward a state legislator.

Defendants do not point to a word where the narrow meaning in

§ 666(a)(2) which would exclude these acts from criminal conduct.

     Defendants repeat the argument that, absent a quid pro quo,

the government could prosecute any form of gratuity. Because the

Court reads the “corruptly” as a limiting factor of the statute,


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the concerns regarding both the fair warning and the prosecutorial

standards are alleviated. See section 3, supra. The Court does not

find the language to be unconstitutionally vague. Because there is

no doubt regarding the statute’s intended scope, the Court declines

to apply the rule of lenity. See, e.g., Shaw v. United States, 137

S. Ct. 462, 469, 196 L. Ed. 2d 373 (2016) (“The statute is clear

enough that we need not rely on the rule of lenity.”)

                              E.   Double Jeopardy

     Under Seventh Circuit case law and as upheld by this Court in

this opinion, § 666(a)(2) a jury could convict Defendants that

have either the “intent to influence or reward” an agent of state

government.    18    U.S.C.    §   666(a)(2)(emphasis       added).     This      is

reflected     in    the   sentencing    guidelines,      which    are    applied

differently depending on whether the underlying crime was “more

akin” to bribery or to providing an illegal gratuity. United States

v. Anderson, 517 F.3d 953, 961 (7th Cir. 2008) (“Convictions under

§ 666 and § 1343 call for the application of either § 2C1.1 or §

2C1.2, whichever is most appropriate or most specifically covers

the offense conduct.”). Defendants argue that the “or” present in

the statute creates two distinct offenses, and the government’s

current charge, which alleges both “influence and reward” creates

a duplicitous count.




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     Defendants state double jeopardy jurisprudence incorrectly.

“An indictment is duplicitous if it charges two or more offenses

in a single count.” United States v. Pansier, 576 F.3d 726, 734

(7th Cir. 2009). Here, however, § 666(a)(2) is a single offense,

which could be committed through either action. The fact that the

government    alleged    multiple     means    by   which    §    666(a)(2)   was

committed by Defendants does not make it duplicitous. FED. R. CRIM.

P. 7(c)(1) (“A count may allege that the means by which the

defendant committed the offense are unknown or that the defendant

committed it by one or more specified means.”)              Defendants are not

exempt from one theory or the other because there is evidence that

both means were committed in violation of the offense.

     Defendants’ arguments regarding the differences at sentencing

are similarly incorrect. Generally, after a conviction, district

courts   will    determine      at   sentencing      which       guidelines   are

appropriate.    And   “the    Sentencing      Commission     often    recommends

different punishments for defendants who commit the same offense

in different ways.” United States v. Donagher, 520 F.Supp.3d 1034,

1055 (N.D. Ill. 2021). The Court denies the Motion to find the

‘bribery’ and the ‘reward’ components to be separate offenses on

the basis of disparate sentencing guidelines.




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                III.   MOTION FOR A BILL OF PARTICULARS

     Defendants next motion for a bill of particulars under Federal

Rule of Criminal Procedure 7(f). Such motion is “at the direction

of the trial court.” United States v. Fassnacht, 332 F.3d 440, 446

(7th Cir. 2003). A bill of particulars is appropriate when the

indictment fails to sufficiently apprise the defendant of the

offending conduct, and additional information is needed in order

for the defendant to be on notice prior to trial. Id. An indictment

that sets forth the elements of each offense charge, the time and

place of the conduct, and a citation to the relevant statutes

violated satisfies this requirement. United States v. Kendall, 665

F.2d 126, 134 (7th Cir. 1981). In addition to the clarity of the

indictment, the district court also considers the complexity of

the charges and the availability of discovery to the defendant.

United States v. Vasquez-Ruiz, 136 F.Supp.2d 941, 943 (N.D. Ill.

2001).

     Defendants argue that, thus far, the Government has only

provided examples of the crimes alleged and have refused to provide

the entire universe of information that might be provided against

them. Given the eight-year time period and the complexity of the

alleged scheme, Defendants argue that a particularized list is

essential    for   proper     notice    prior    to    trial.    Specifically,

Defendants   request     four   categories      of   information    beyond    the


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indictment and the provided discovery: (1) each individual who was

illegally hired, (2) every document falsified, (3) an enumeration

of each false representation and its corresponding count, and (4)

each transaction that Defendants were attempting to influence or

reward.

     The Court has already reviewed the Indictment, Section II,

supra, and found it sufficiently articulated the elements charged.

Defendants have been indicted of intending to influence or reward

Public Official A through providing jobs, vendor contracts and

monetary payments. The scheme alleged covers eight years of conduct

of actors working in a large public corporation, so the Court

considers each category request of particulars to determine if

Defendants have sufficiently information to be on notice for trial.

     The Government states at the outset that it has provided

“voluminous discovery,” including “emails, contracts, recorded

conversations, interview reports, [] grand jury testimony” and

“indices   with    each   production     to   aid   defendants’      review       of

documents.” (Resp. at 8—9, Dkt. No. 75.) For a complex, multi-year

trial, this could either illuminate the alleged wrongful conduct

or lose Defendants in a digital maze of document production rooms.

     Defendants first ask for a list of each individual who was

hired or otherwise retained with the intent to influence or reward

Public Official A. Contrary to Defendants’ characterization, the


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Government does not allege that every hiring decision made by ComEd

over eight years could be brought as a corrupt hiring at trial.

The only decisions alleged by the Government as violating the

anticorruption laws are ones where the hiring request was made

through the former legislator Defendant McClain. The Government

also provided specific examples in the Indictment on how the scheme

worked   with    respect      to    four   hiring   decisions,    one   law   firm

retention, one board appointment, and one preferential intern

program.

       Defendants     argue     that     examples   alone   are   insufficient.

However, given the provided discovery and the alleged scheme where

hiring decisions were requested through a single individual and

personally worked on by one or more of the other defendants, the

Court finds that the Government has provided enough specificity

with   respect   to    the     individual      hiring   decisions.   Ultimately,

Defendants are in the best position to know which individuals and

entities they directed the company to retain based on McClain’s

recommendations       beyond       the   six   individual   instances   and   one

program alleged.

       Defendants also request a specific list of false statements

they allegedly made over the course of the eight-year scheme, and

for the Government to provide the corresponding Count associated

with each false statement. The Government points out that the


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Indictment specifies the time of each of the individual counts

within a one- to three-month period, and that it identified some

specific documents produced in discovery that contained the false

statements. By identifying the date, the Government has provided

sufficient notice as to the individual counts. The Court finds

less specificity in the conspiracy count. The Government has not

provided any notice as to the nature of the false statements for

the ongoing, eight-year scheme alleged in Count One. For a complex

eight-year    conspiracy      at     a   public     company,       alleging     general

concealment    and    false    statements,          even    with    some   identified

example documents, does not allow Defendants to prepare for trial.

The Indictment sets these false statements in general terms,

alleging Defendants “created and caused the creation of false

contracts, invoices and other books and records to disguise the

true nature of certain of the payments and to circumvent internal

controls.” (Indict. ¶ 3.) Because “[t]here is a good chance that

the government will offer at trial false statements and bad acts

that   are   within    the    scope      of   one   or     more    of   these   general

allegations,”        the     Court       grants      Defendants’         Motion     for

Particularization as to the false statements requested for Count

One. United States v. Dekelaita, No. 14 CR 497, 2015 WL 13688965,

at *3 (N.D. Ill. Mar. 23, 2015).               The Court denies the Motion as

to Counts Two, Three, Four, Five, Six, Seven, Eight and Nine.


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     Finally, Defendants ask for a particularization as to the

acts, or lack thereof, which Defendants intended to influence or

reward. The Government has already provided specific legislation

that was passed during the conspiracy and favorable to ComEd. As

explained in Gee, power over the legislative branch can be shown

through both legislation and assumption that legislators have the

power to prevent the passage of unfavorable legislation. 432 F.3d

at 715. The Court does not think that Defendants require further

particularization.

                    IV.   MOTION TO STRIKE SURPLUSAGE

     Finally, Defendants move to remove the surplusage in the

indictment    under    Federal      Rule   of   Criminal     Procedure     7(d).

Defendants argue that the paragraphs describing the favorable

legislation passed in the State of Illinois legislature is too

attenuated to the rest of the indictment and may be prejudicial to

the jury. The Court finds the Motion to be premature prior to the

Government’s presentation of its case-in-chief. The Court denies

the Motion, but Defendants may renew it prior to the jury receiving

a copy of the Indictment.

                               V.    CONCLUSION

     For the reasons stated herein, the Court denies Defendant Jay

Doherty’s Motion to Dismiss and Defendants Michael McClain, Anne

Pramaggiore, John Hooker and Jay Doherty’s Motion to Dismiss. (Dkt.


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Nos.   44,   45.)   The   Court   grants    in   part   and   denies    in   part

Defendants’ Motion for Bill of Particulars. (Dkt. No. 56.) The

Government is directed to provide Defendants, no less than sixty

(60) days prior to trial, a Bill of Particulars identifying the

false statements associated with Count One of the Indictment. The

Court denies Defendants’ Motion to Strike Surplusage from the

Indictment, (Dkt. No. 62) but Defendants may renew the motion prior

to trial.


IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

Dated: 2/17/2022




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